          Case 1:19-cv-01492-KPF Document 13 Filed 05/09/19 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 LESHAWN DAWSON on behalf of himself
 and all others similarly situated,
                                                           Docket No: 1:19-cv-01492-KPF

                                  Plaintiffs,             NOTICE OF SETTLEMENT

                      -against-


 MARLEY SPOON INC.,
                         Defendant.


Now comes the Plaintiff LESHAWN DAWSON by and through counsel, to provide notice to the

Court that the present cause has been settled between the parties, and states:

   1. A settlement in principle has been reached between Plaintiff and Defendant and settlement

       agreement (“Agreement”) is in the process of being finalized. Once the Agreement is fully

       executed, and certain conditions have been fulfilled pursuant to the Agreement, the parties

       will submit a Stipulation of Dismissal with prejudice, and without costs, pursuant to

       Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and will therein request that the case be

       dismissed and closed.

   2. The parties respectfully request that the Court stay this case and adjourn all deadlines and

       conferences.


       Dated:     Brooklyn, New York
                  May 9, 2019

                                                     Respectfully submitted,
                                                     /s/ Joseph H. Mizrahi
                                                     Joseph H. Mizrahi, Esq.




                                                 1
